
95 N.Y.2d 929 (2000)
CARA HUCK, Individually and as Parent and Natural Guardian of ERICA HUCK, an Infant, Respondent-Appellant,
v.
CITY OF NEWBURGH et al., Appellants-Respondents.
Court of Appeals of the State of New York.
Submitted October 10, 2000.
Decided November 30, 2000.
Motion for leave to appeal, insofar as made on behalf of Kenneth Lopez, dismissed upon the ground that such movant is not a party aggrieved (see, CPLR 5511); motion for leave to appeal, insofar as made on behalf of the City of Newburgh, dismissed upon the ground that as to that party, the order sought to be appealed from does not finally determine the action within the meaning of the Constitution. Cross motion for leave to appeal by Cara Huck denied.
